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07
                              UNITED STATES DISTRICT COURT
08                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
09

10 UNITED STATES OF AMERICA,              )
                                          )
11               Plaintiff,               )             Case No. CR08-159-MJP
                                          )
12         v.                             )
                                          )
13   OSCAR MANUEL VARGAS-FELIX,           )             DETENTION ORDER
                                          )
14               Defendant.               )
     ____________________________________ )
15

16 Offenses charged:

17          Count 1: Conspiracy to Distribute Cocaine and Methamphetamine, in violation of 21

18                      U.S.C. §§ 841(a)(1), 841 (b)(1)(A), 841(b)(1)(B) and 846.

19 Date of Detention Hearing:      May 9, 2008

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

22 the following:

23 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Defendant has stipulated to detention due to non-legal status, but reserves the

25 right to contest his continued detention if there is a change in circumstances.

26          (2)     There are no conditions or combination of conditions other than detention that


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 will reasonably assure the appearance of defendant as required or ensure the safety of the

02 community.

03          IT IS THEREFORE ORDERED:

04          (1)    Defendant shall be detained pending trial and committed to the custody of the

05                 Attorney General for confinement in a correctional facility separate, to the

06                 extent practicable, from persons awaiting or serving sentences or being held in

07                 custody pending appeal;

08          (2)    Defendant shall be afforded reasonable opportunity for private consultation

09                 with counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11                 government, the person in charge of the corrections facility in which defendant

12                 is confined shall deliver the defendant to a United States Marshal for the

13                 purpose of an appearance in connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

15                 counsel for the defendant, to the United States Marshal, and to the United

16                 States Pretrial Services Officer.

17                 DATED this 9th day of May, 2008.



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                                                         JAMES P. DONOHUE
20                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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